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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 22-61009-CIV-SMITH

 EDWARD QUINTERO,

        Plaintiff,

 v.

 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC,

        Defendant.
                                                  /

                       ORDER SETTING CIVIL TRIAL DATE,
               PRETRIAL DEADLINES, AND REFERRAL TO MAGISTRATE

          THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

  July 3, 2023. If the case cannot be tried during the aforementioned two-week period, it will be re-

  set for each successive trial calendar until it is tried or resolved. The Calendar Call will be held at

  9:00 a.m. on June 27, 2023. The parties shall adhere to the following schedule:

        1.       Joinder of any additional parties and filing of motions to
                 amend the pleadings by:                                                   [09/01/22]

        2.       Parties shall select a mediator pursuant to Local Rule 16.2
                 and shall schedule a time, date, and place for mediation by:              [08/12/22]

        3.       Plaintiffs shall disclose experts, expert witness summaries,
                 and reports as required by Fed. R. Civ. P. 26(a)(2) by:                   [08/19/22]

        4.       Defendant shall disclose experts, expert witness summaries,
                 and reports as required by Fed. R. Civ. P. 26(a)(2) by:                   [09/19/22]

        5.       Exchange of rebuttal expert witness summaries and reports
                 as required by Fed. R. Civ. P. 26(a)(2) by:                               [09/27/22]

        6.       Written lists containing the names and addresses of all fact
                 witnesses intended to be called at trial by:                              [11/04/22]

        7.       Fact discovery shall be completed by:                                     [12/02/22]
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        8.      Expert discovery shall be completed by:                              [12/16/22]

        9.      Mediation shall be completed by:                                     [01/13/23]

        10.     Dispositive motions, including summary judgment and
                Daubert, shall be filed by:                                          [01/30/23]

        11.     All pretrial motions and memoranda of law, including
                motions in limine, shall be filed by:                                [05/05/23]

        12.     Joint pretrial stipulation, deposition designations and
                counter-designations, proposed joint jury instructions,
                proposed joint verdict form, and/or proposed findings
                of fact and conclusions of law shall be filed by:                    [05/26/23]

                If the parties cannot agree on specific jury instructions, the
                submitted instructions shall clearly indicate which party has
                proposed the specific instruction. The parties shall meet and
                confer prior to submitting the deposition designations and
                counter-designations in a good faith effort to resolve objections.

                            REFERRAL TO MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. § 636(b)(1) and Rule 1 of the Magistrate Rules of the Southern

 District of Florida, ALL NON-DISPOSITIVE PRETRIAL MOTIONS, including all discovery

 and all motions for attorney’s fees, costs, and sanctions, are REFERRED to Magistrate Judge

 Valle for appropriate resolution.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 27th day of July 2022.




 cc: Counsel of record




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